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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

FEDERAL NEWS SERVICE, INC.,

                     Plaintiff,               *
                                              *
          v.                                  *
                                              *
POYNTER INSTITUTE FOR                         *         Case Number: 1:09-cv-1226-RMU
MEDIA STUDIES, TIMES                          *
PUBLISHING COMPANY,                           *
CONGRESSIONAL QUARTERLY,                      *
INC., CQ TRANSCRIPTIONS, INC.                 *
MORNINGSIDE PARTNERS, LLC,                    *
ROBERT MERRY, STEPHEN
CARR DAVIS and ANTHONY
O'BRIEN,

                     Defendant.


                STIPULATION TO DISMISS PURSUANT TO FED. R. CIV. P. 41(A)(2)


          Plaintiff Federal News Service, Inc., by the undersigned counsel, and Defendants Poynter

Institute for Media Studies, Times Publishing Company, Congressional Quarterly, Inc., CQ

Transcriptions, Inc., Morningside Partners, LLC, Robert Merry, Stephen Carr Davis and

Anthony O'Brien, by their respective and undersigned counsel, pursuant to Fed. R. Civ. P

41 (a)(2), hereby stipulate to the dismiss of this lawsuit with prejudice, each party to bear its own

costs.




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                                         Respectfully submitted,

        FEDERAL NEWS SERVICE, INC.

        Isl Andre P. Barlow
        One if Its Attorneys

       Doyle Barlow & Mazard PLLC
       1350 I Street, N. W., Suite 850
       Washington, D.C. 20005

       POYNTER INSTITUTE FOR MEDIA STUDIES, TIMES PUBLISHING COMPANY,
       CONGRESSIONAL QUARTERLY, INC., C.Q. TRANSCRIPTIONS, INC., AND
       ROBERT MERRY

       Isl Joseph S. Hall
       One of Their Attorneys

       Kellogg Huber Hansen Todd Evans & Figel PLLC
       1615 M. Street, N.W.
       Washington, D.C. 20036

       MORNINGSIDE PARTNERS, LLC
       STEPHEN CARR DAVIS
       ANTHONY O'BRIEN

       IslRobertM. Andalman
       One of Their Attorneys

       Loeb & Loeb LLP
       321 North Clark Street
       Chicago, Illinois 60654




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